Case 2:10-cr-20377-BAF-MAR ECF No.1 filed 06/08/10 PagelD.1 Page1of4

 

AUSA Dawn N. Ison i
AO 91 (Rev. 02/09) Criminal Complaint Special Agent Michael Rose, I.C.E.
nw UNITED STATES DISTRICT COURT

for the

Eastern District of Michigan

United States of America
Vv.
Case:2:10-mj-30217

D-1 ALEJANDRO RAMOS-ANDRADE Judge: Unassigned,

D-2 ISRAEL OREA-REYES Filed: 06-08-2010 At 04:54 PM
D-3 OMAR CARILLO-VILLAGRANA CMP: Alejandro Ramos-Andrade, et al
D-4. TEODORO OROZCO-GONZALEZ - Gj)

Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

On or about the date of April 14, 2010 in the county of Wayne in the Eastern
District of Michigan , the defendant violated 21 U.S.C. § 841(a)(1) and 846

 

an offense described as follows:

Conspiracy to possess with intent to distribute and to distribute 2 kilograms of cocaine, a Schedule II controlled substance.

This criminal complaint is based on these facts:

Continued on the attached sheet. hc Yin

Complainant's signature

Miche-!T hx S.! A, +

Printed name and title

Sworn to before me and signed in my presence.

Date: Cie [pe hime he
/ | icial Officer signatur&
City and sate: NYO Lr OU } f (1

 

 

Virginia’Medforgan’
U.S. Magistrate Judge
Case 2:10-cr-20377-BAF-MAR ECF No.1 filed 06/08/10 PagelD.2 Page 2of4

UNITED STATES DISTRICT COURT

Eastern District of Michigan, Southern Division

Affidavit

I, Michael Rose, Special Agent, being duly sworn, depose and state the following:

1. Iam a Special Agent with the U.S. Department of Homeland Security, I.C.E. (DHS-
ICE) Office of Investigations, having been so designated since May of 2005. I ama
graduate of Michigan State University and the federal Law enforcement Training
Center in Glynco, Georgia. As part of my daily duties as a DHS-ICE Special Agent, I
investigate criminal violations relating to the smuggling of controlled substances.

2. This affidavit is made in support of a criminal complaint against Alejandro RAMOS-
Andrade, Israel OREA-Reyes, Omar CARILLO-Villagrana and Teodoro OROZCO-
Gonzalez for violations of Title 21 of the United States Code, Sections 841(a)(1),
which prohibits the possession with intent to distribute a controlled substance, and
846 which prohibits a person from attempting or conspiring to violate Section
841(a)(1).

3. The facts set forth in this affidavit are based upon information I have obtained through
my own observations and information J obtained from other law enforcement officers.
I have not set forth all of the information learned in this investigation, but only the
information necessary to show probable cause that Alejandro RAMOS-Andrade,
Israel OREA-Reyes, Omar CARILLO-Villagrana and Teodoro OROZCO-Gonzalez
have violated 21 USC 841(a)(1) and 21 USC 846.

4. On April 14, 2010, an Immigration and Customs Enforcement Special Agent acting in
an undercover capacity met Alejandro RAMOS-Andrade and Israel OREA-Reyes at a
restaurant in Taylor, Michigan to discuss a cocaine transaction. OREA-Reyes and
RAMOS-Andrade offered to sell the U/C five kilograms of cocaine for the price of
$34,000 per kilogram.

5. On several occasions between April 14, 2010 and June 2, 2010, RAMOS-Andrade and
OREA-Reyes made telephone contact with the U/C in an attempt to continue the
cocaine transaction.

6. On June 2, 2010, the U/C met with RAMOS-Andrade and OREA-Reyes at the Home
Depot in Taylor, Michigan. During the meeting, RAMOS-Andrade produced a
plastic bag which contained cocaine. OREA-Reyes took the bag, unwrapped the
contents and provided it to the U/C. The contents were later processed by agents and
field tested positive for cocaine. The weight of the cocaine was approximately 326
Case 2:10-cr-20377-BAF-MAR ECF No.1 filed 06/08/10 PagelD.3 Page 3of 4

grams.

7. Prior to the meeting on June 2, 2010, Agents had conducted surveillance of OREA-
Reyes and RAMOS-Andrade and observed them exit a home located at 441 Colonial
Street in Detroit, Michigan. Agents maintained surveillance as they travelled to
Taylor, Michigan, met with the U/C and then returned to 441 Colonial and entered
residence.

8. On June 4, 2010, the Detroit Police Department conducted a state search warrant at |
44] Colonial, Detroit, Michigan. Officers seized a scale and approximately 18 grams
of cocaine from a bedroom in the basement of the home. Officers also found
documents in the basement to indicate that the room was occupied by RAMOS-
Andrade.

9. On June 7, 2010, the U/C made telephone contact with RAMOS-Andrade. During that
conversation, RAMOS-Andrade indicated that he would be able to provide the U/C with
two kilograms of cocaine on the morning of June 8, 2010.

10. At approximately 9:30a.m., on June 8, 2010, RAMOS-Andrade contacted the U/C
via telephone and indicated that he had cocaine and wanted to meet with the U/C as soon
as possible. The U/C and RAMOS-ANDRADE made arrangements to meet at the Home:
Depot, located on Eureka Road in Taylor, Michigan.

11. Upon their arrival at the Home Depot, agents observed a green Mazda Tribute in the
parking lot. Agents recognized the vehicle as a vehicle that had previously observed
while conducting surveillance on OREA-Reyes. Agents also observed a green Chevrolet
Impala, bearing North Carolina license plates. The U/C made contact with the occupants
of the Mazda, Alejandro RAMOS-Andrade, Israel OREA-Reyes and Omar CARILLO-
Villagrana, who indicated that they had seen police in the area and wanted to move to a
different location.

12. Agents observed as the Mazda and the Chevrolet drove in tandem approximately one
mile west to the Southland Mall. Once there, the vehicles separated and the Mazda
parked near the Best Buy store. The Chevrolet parked away from the Mazda in a
location that allowed a view of the main roads near the parking lot.

13. The Mazda parked next to the U/C’s vehicle. OREA-Reyes exited the driver’s seat and
retrieved a white paper McDonald’s bag from the rear of the vehicle. OREA-Reyes then
handed the bag through the window of the U/C vehicle to the U/C. Following this,
OREA-Reyes, RAMOS-Andrade, CARILLO-Villagrana entered the U/C vehicle. After
a short conversation, agents observed as the U/C exited the vehicle, placed the
McDonalds bag into the rear hatch area of the U/C vehicle and walked away. At that
time, all three individuals were arrested. Agents also arrested the sole occupant of the
Chevrolet, OROZCO-Gonzalez.
Case 2:10-cr-20377-BAF-MAR ECF No.1 filed 06/08/10 PagelD.4 Page 4of4

14. Agents retrieved the McDonalds bag from the U/C vehicle and observed two plastic
wrapped bricks of suspected cocaine in the bag. The substance contained in the plastic
wrap tested positive for cocaine. The gross weight of the cocaine was approximately 2
kilograms.

Based on the forgoing, your affiant believes that probable cause exists that Alejandro
RAMOS-Andrade, Israel OREA-Reyes, Omar CARILLO-Villagrana and Teodoro
OROZCO-Gonzalez have violated 21 USC 841(a)(1) and 21 USC 846.

HO fl

“Michael Rose
Special Agent
U.S. Department of Homeland Security
LC.E. — Office of Investigations

Subscribed and sworn to before me
This the 8th day of June, 2010

Vic

Honorable Virginia M. Morgan
United States Magistrate Judge
